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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                                CRIMINAL ACTION

 VERSUS                                                                  NO. 09-57

 JOHN DELCO                                                              SECTION M (3)



                                         ORDER & REASONS

        Before the Court is the second emergency COVID-19 motion of defendant John Delco

for reconsideration.1 The government opposes the motion,2 and Delco replies in further support

of his motion.3 Having considered the parties’ memoranda, the record, and the applicable law,

the Court issues this Order & Reasons denying Delco’s motion because he still has not fully

exhausted his administrative remedies as required by statute.

I.      BACKGROUND

        On June 3, 2009, Delco, without a plea agreement, pleaded guilty to the following counts

of the indictment filed against him: Count 3, conspiracy to distribute less than 50 kilograms of

marijuana; Counts 4, 5, and 7, distribution of less than 100 grams of marijuana; Counts 8, 9, 12,

and 14, convicted felon in possession of a firearm; and Counts 11 and 13, distribution of less

than 100 grams of heroin.4 On September 9, 2009, the Court sentenced Delco to imprisonment

for 60 months as to Counts 3, 4, 5, and 7; 120 months as to Counts 8, 9, 12, and 14; and 210

months as to Counts 11 and 13, to be served concurrently.5 Delco is presently incarcerated at the



        1
          R. Doc. 242.
        2
          R. Doc. 244.
        3
          R. Doc. 245.
        4
          R. Doc. 118 at 1-5.
        5
          R. Doc. 57. The sentence was imposed before the case was reassigned to this section of court upon the
confirmation of the undersigned. R. Doc. 196.
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Federal Medical Center in Butner, North Carolina (“FMC Butner”), operated by the Bureau of

Prisons (the “BOP”). His projected release date is January 15, 2024.6

          On May 11, 2020, due to the outbreak of the COVID-19 pandemic, Delco submitted to

the BOP a request for compassionate release pursuant to the First Step Act, explaining that he

has hypertension (one of the COVID-19 risk factors identified by the Centers for Disease Control

(“CDC”)), and requesting that he be placed in home confinement or a halfway house.7 On May

18, 2020, the FMC Butner warden informed Delco that his request was denied because he did not

meet the criteria for a reduction in sentence in accordance with guidelines established under BOP

“Program Statement 5050.50,” specifically, he did not meet the criteria under “Debilitated,”

explaining that he is “independent of [his] activities of daily living and [his] current medical

conditions are under control.”8 On May 28, 2020, Delco tried again, submitting a request for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) or transfer to home confinement

for the remainder of his sentence pursuant to 18 U.S.C. § 3624(c)(2), section 12003(b)(2) of the

Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”), Pub. L. No. 116-136,

134 Stat. 281 (2020), and the Attorney General’s April 3, 2020 Memorandum to the Director of

the BOP, “Increasing Use of Home Confinement at Institutions Most Affected by COVID-19.”9

Delco represented that he is at risk because he is over the age of 50 (although his records show




          6
              Inmate Locator, FED. BUREAU   OF   PRISONS, https://www.bop.gov/inmateloc/ (last accessed on Oct. 19,
2020).
          7
           R. Doc. 219-1 at 22.
          8
           Id. at 19. According to the government’s communications with BOP legal counsel, the BOP also
considered whether Delco was eligible for home confinement in accordance with the Attorney General’s March 26,
2020 memorandum directing the Director of the BOP to prioritize transferring at-risk inmates to home confinement
where appropriate in light of the COVID-19 pandemic. R. Doc. 223 at 5, 7; see Memorandum from the Attorney
General to the Director of the BOP, Prioritization of Home Confinement as Appropriate in Response to COVID-19
Pandemic (Mar. 26, 2020), available at https://www.bop.gov/coronavirus/docs/bop_memo_home_confinement.pdf.
The BOP determined that Delco was not a candidate for home confinement because his Prisoner Assessment Tool
Targeting Estimated Risk and Need (“PATTERN”) score indicated he had a medium, rather than minimum, risk of
recidivism. R. Doc. 223 at 7.
         9
           R. Doc. 219-1 at 15.
                                                           2
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he is 49, and does not turn 50 until the end of 2020),10 suffers from hypertension, had back

surgery in December 2015, has neck and leg nerve damage, and is an African-American male.11

On June 23, 2020, Delco appealed the warden’s denial of his request (according to Delco, the

request was denied on June 19, 2020), arguing that the denial was based on the “old” Program

Statement 5050.50, even though that program statement was updated and amended by the

Attorney General on March 26, 2020.12         On July 2, 2020, the warden denied his appeal,

explaining that Delco was found not to be medically compromised and has a “medium”

PATTERN risk score, and that the Attorney General’s expansion of the BOP’s authority, in order

to address the difficulties associated with the COVID-19 pandemic, was not an amendment to

the program statement.13

       On July 7, 2020, Delco filed an emergency COVID-19 motion for reduction in sentence

pursuant to 18 U.S.C. § 3582(c)(1)(A) and request for appointment of legal counsel.14 This

Court denied both requests in its Order & Reasons on August 7, 2020.15 Delco had sought an

extension of time to file a reply in support of his motion on the basis that his medical records had

not yet arrived from the BOP,16 but this motion was denied as moot.17

       Thereafter, Delco filed a motion for reconsideration asserting that, because his medical

records, once received, revealed a previously unknown diagnosis of type II diabetes mellitus, the

Court should reconsider its Order & Reasons denying his July 7, 2020 motion.18 Delco argued

that he was entitled to compassionate release because his recent diagnosis of type II diabetes



       10
          Id. at 2.
       11
          Id. at 15-16.
       12
          R. Doc. 224 at 3.
       13
          Id. at 4.
       14
          R. Doc. 219.
       15
          R. Doc. 226.
       16
          R. Doc. 225.
       17
          R. Doc. 227.
       18
          R. Doc. 230.
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mellitus puts him at a higher risk of complications were he to contract COVID-19.19 He

contended that this July 20, 2020 diagnosis, which was unknown to him until he received his

medical records, should be considered new evidence that would allow for reconsideration of this

Court’s prior order.20 In opposition, the government argued that the motion was premature

because Delco had not exhausted the statutory administrative requirements for compassionate

release.21 The Court construed the motion, not as one for reconsideration, but as a new motion

for reduction in sentence pursuant to 18 U.S.C. § 3582( c)(1)(A) based on his diagnosis of type II

diabetes mellitus.22 Nevertheless, the Court denied the motion, holding that Delco provided no

proof that he applied to the warden of FMC Butner for a reduction in sentence based on the

diabetes diagnosis, much less that he had exhausted his administrative remedies.23

II.    PENDING MOTION

       Delco now moves for reconsideration of this Court’s September 21, 2020 Order &

Reasons denying his motion for reconsideration that was treated as a new motion for reduction in

sentence.24 Delco presents what he contends is evidence that he has exhausted his administrative

remedies.25 The documents show that, on June 26, 2020, Delco made an administrative request

to the warden of FMC Butner for a reduction in his sentence.26 Further, Delco submitted an

appeal to the mid-Atlantic regional office on August 1, 2020.27

       In opposition, the government argues that the documents Delco submits do not show that

he fully exhausted his administrative remedies by appealing any denial to the BOP’s general



       19
          Id. at 1-3.
       20
          Id. at 1.
       21
          R. Doc. 233 at 5-8.
       22
          R. Doc. 236.
       23
          Id.
       24
          R. Doc. 242.
       25
          Id. at 2-6.
       26
          Id. at 2-3.
       27
          Id. at 4-5.
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counsel.28 The government also argues that Delco has not proved that he submitted a second

administrative request for emergency release based on his diabetes diagnosis.29

        In his reply memorandum, Delco shows that on September 29, 2020, he did file a request

for compassionate release with the warden of FMC Butner citing his diabetes,30 and that on

October 2, 2020, the warden denied the request, construing it as a repeat filing.31 Delco insists

that these additional documents reflect that he has exhausted his administrative remedies.

III.    LAW & ANALYSIS

        Motions for reconsideration of interlocutory orders are governed by Rule 54(b) of the

Federal Rules of Civil Procedure, which provides in pertinent part:

        [A]ny order or other decision, however designated, that adjudicates fewer than all
        the claims or the rights and liabilities of fewer than all the parties does not end the
        action as to any of the claims or parties and may be revised at any time before the
        entry of a judgment adjudicating all the claims and all the parties’ rights and
        liabilities.

Under Rule 54(b), a district court “is free to reconsider and reverse its decision for any reason it

deems sufficient, even in the absence of new evidence or an intervening change in or

clarification of the substantive law.” Austin v. Kroger Tex., L.P., 864 F.3d 326, 336 (5th Cir.

2017). Unlike motions to alter or amend a judgment under Rule 59(e), “Rule 54(b)’s approach to

the interlocutory presentation of new arguments as the case evolves can be more flexible,

reflecting ‘the inherent power of the rendering district court to afford such relief from

interlocutory judgments as justice requires.’” Id. at 337 (quoting Cobell v. Jewell, 802 F.3d 12,

25-26 (D.C. Cir. 2015)) (internal citations and quotations omitted). However, the district court

must exercise this broad discretion sparingly to forestall the perpetual reexamination of orders


        28
           R. Doc. 244 at 1.
        29
           Id. at 2.
        30
           R. Doc. 245 at 8-11.
        31
           Id. at 12.

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and the resulting burdens and delays. See Calpecto 1981 v. Marshall Expl., Inc., 989 F.2d 1408,

1414-15 (5th Cir. 1993) (“[If] the district court was required to reconsider [an interlocutory

order] simply because [the losing party] belatedly came forward with evidence not submitted

prior to the ruling[,] … the cycle of reconsideration would be never-ending.”); Domain

Protection, LLC v. Sea Wasp, LLC, 2019 WL 3933614, at *5 (E.D. Tex. Aug. 20, 2019)

(“[A]lthough a district court may revisit an interlocutory order on any ground it sees fit, it may

also use its discretion to prevent parties from, without justification, raising new arguments for the

first time.”) (emphasis in original; alterations, internal quotation marks, and citation omitted);

18B CHARLES A. WRIGHT, ARTHUR R. MILLER, & EDWARD H. COOPER, FEDERAL PRACTICE AND

PROCEDURE § 4478.1 (3d ed. 2019).

       “The district court’s jurisdiction to correct or modify a defendant’s sentence is limited to

those specific circumstances enumerated by Congress in 18 U.S.C. § 3582.” United States v.

Garcia, 606 F.3d 209, 212 n.5 (5th Cir. 2010). Section 3582(c), as amended by the First Step

Act, provides that “[a] court, on a motion by the BOP or by the defendant after exhausting all

BOP remedies, may reduce or modify a term of imprisonment, probation, or supervised release

after considering the factors of 18 U.S.C. § 3553(a), if ‘extraordinary and compelling reasons

warrant such a reduction.’” United States v. Chambliss, 948 F.3d 691, 692-93 (5th Cir. 2020)

(quoting 18 U.S.C. § 3582(c)(1)(A)(i)). Under 18 U.S.C. §3582(c)(1)(A), federal courts “may

not modify a term of imprisonment once it has been imposed [except upon the motion of the

BOP or the defendant] after the defendant has fully exhausted all administrative rights to appeal

a failure of the [BOP] to bring a motion on the defendant’s behalf or the lapse of 30 days from

the receipt of such a request by the warden of the defendant’s facility, whichever is earlier.”

       The Fifth Circuit recently clarified that this requirement is not jurisdictional but is a

mandatory claim-processing rule. United States v. Franco, 973 F.3d 465, 468 (5th Cir. 2020)
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(“all requests for compassionate release must be presented to the [BOP] before they are litigated

in the federal courts”). Thus, a court cannot consider the merits of a motion to reduce or modify

a defendant’s sentence until the defendant demonstrates that his administrative remedies have

been exhausted.

        To “fully exhaust all administrative remedies” under § 3582(c)(1)(A), an inmate who is

not satisfied with the warden’s response:

        may submit an Appeal on the appropriate form (BP-10) to the appropriate
        Regional Director within 20 calendar days of the date the Warden signed the
        response. An inmate who is not satisfied with the Regional Director's response
        may submit an Appeal on the appropriate form (BP-11) to the General Counsel
        within 30 calendar days of the date the Regional Director signed the response. ...
        Appeal to the General Counsel is the final administrative appeal.

28 C.F.R. § 542.15(a). These time limits may be extended upon the inmate’s demonstration of a

valid reason for delay. Id. If an inmate does not receive a response within the time allotted, the

inmate may consider the absence of a response a denial at that level and proceed to the next

level. An inmate may seek relief in federal court only after he has exhausted all levels of the

administrative review process. See Lundy v. Osborn, 555 F.2d 534, 535 (5th Cir. 1977) (“Only

after such remedies are exhausted will the court entertain the application for relief in an

appropriate case.”).

        On June 26, 2020, Delco presented an administrative request for compassionate release to

the warden of FMC Butner,32 who extended the time for response to August 5, 2020.33

Thereafter, on August 1, 2020,34 Delco appealed to the regional director, who also extended the

time for response to September 30, 2020.35 Delco filed his current motion for reconsideration on


        32
            R. Doc. 242 at 2.
        33
            Id. at 3.
         34
            Id. at 4.
         35
            Id. at 5. Because Delco claims he discovered his diabetes diagnosis on July 20, 2020, his June 26, 2020
request for sentence reduction could not have contemplated it, so the diabetes diagnosis cannot have been part of his
August 1, 2020 administrative appeal.
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September 25, 2020, and consequently, he has not (and could not have) presented any evidence

with his motion that the regional director failed to respond by September 30, 2020, or that he

appealed an unsatisfactory decision by the regional director to the BOP’s general counsel. Thus,

Delco has not proved that he exhausted his administrative remedies, and this Court may not act

on his motion for compassionate release.

       The documents Delco supplies with his reply do not alter this conclusion. Although

Delco, on September 29, 2020, did finally submit a request for compassionate release or sentence

reduction to the warden of FMC Butner based on his July 2020 diabetes diagnosis,36 and on

October 2, 2020, the warden denied it as cumulative (a “repeat filing”),37 Delco has not

demonstrated that he appealed the warden’s October 2, 2020 denial to the regional director, or

that he appealed any unsatisfactory decision by the regional director to the BOP’s general

counsel. Therefore, absent the requisite showing of exhaustion of administrative remedies, this

Court cannot consider the merits of Delco’s motion at this time.

IV.    CONCLUSION

       Accordingly, for the foregoing reasons,

       IT IS ORDERED that John Delco’s second emergency motion for reconsideration, this

one construed as a motion for reconsideration, is denied without prejudice to his refiling the

motion once he achieves one of the two avenues for exhaustion under 18 U.S.C. § 3582(c)(1)(A).

       New Orleans, Louisiana, this 20th day of October, 2020.



                                                     ________________________________
                                                     BARRY W. ASHE
                                                     UNITED STATES DISTRICT JUDGE


       36
            R. Doc. 245 at 8.
       37
            Id. at 12.

                                                 8
